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                                                                  FILE D
                         UNITED STATES DISTRICT COURT Ii CLE' .,1; n FFIC:
                          DISTRICT OF MASSACHUSETTS    Zr.     ;J - 7 -i' ·j : ? o
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                                                                                           .                                 . v ~., .
MICHAEL HOOTSTEIN                                       )
    Plaintiff                                           )
V.                                                      )
                                                        ) C.A. NO.: 3:17-cv-30146-KAR
AMHERST-PELHAM REGIONAL                                 ) JURY DEMAND
SCHOOL COMMITTEE                                        )
     Defendant                                           )
___________                                             )


         MEMORANDUM IN SUPPORT OF PLAINTIFF'S MOTION
     FOR EMERGENCY PRELIMINARY INJUNCTION TO PREVENT
     IRREPARABLE HARM TO AMHERST, MA SCHOOLCHILDREN

        "First, one must make every attempt to resolve problems within the system, before

taking distasteful allegations public. Second, a whistleblower must also believe that true

harm (e.g., public endangerment or a miscarriage of justice) could result from remaining

silent." (Flintwaterstudy.org, December 28, 2018)


                                     I. INTRODUCTION

       Based on new case evidence provided herein, the Pro Se Plaintiff "whistle blower" ,

Michael Hootstein, custodial grandfather of an Amherst High School Senior and Principal

Hydrogeologist, Legacy Environmental Group, seeks an emergency preliminary injunction

against the Defendant Amherst-Pelham Regional School Committee, to prevent foreseeable,

imminent and irreparable lead-poisoning injury to his Grandson, the Plaintiff, more than 2,500

other Amherst schoolchildren and their parents. He respectfully asks for an Order compelling


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the Committee to provide all Amherst students and their parents equal access to the same safe

bottled water - not exceeding the U.S. Food & Drug Administration ("FDA") 5 parts per billion

("ppb") lead limit - which the Committee provides to the Superintendent and his "Central Office"

administrators whose offices are located in Amherst Regional Middle School.

       Defendant Amherst admits Amherst Regional Middle School drinking water is unfit

for human consumption as evidenced by Amherst's decision to purchase bottled water (not

exceeding the FDA 5 ppb lead limit) for the Superintendent and his staff, but not for Amherst

Regional Middle School students or for any of the other 2,500 Amherst schoolchildren (like

Plaintiffs Grandson) who are exposed to toxic high levels of lead in Amherst schools each and

every school day. (See Exhibit A, pp. 156 -159 "Central Office Water").

       Mr. Hootstein respectfully requests that the Court grant his Motion for Emergency

Preliminary Injunction for the reasons explained in this memorandum based on newly gleaned

case evidence Exhibit A above and Exhibit B - a preliminary study, analysis and design of

cost-effective solutions, titled "Lead In Amherst, .M4 School Drinking Water - Cost Effective

Solutions Exist", by Michael Hootstein (Hydrogeologist, Legacy Environmental Group), Glen

Ayers (retired County Health Agent, Registered Sanitarian and Certified Public Water Supply

Operator) and Professor Marc Edwards.

       Irrefutable scientific evidence proves students attending Amherst Regional Middle

School (and other Amherst schools) are exposed to toxic high levels oflead in school each and

every school day. For example:

    In Amherst Regional Middle School - 29 of 40 tests exceeded the 5 ppb FDA lead limit, and
    21 of 40 exceeded the outdated 15 ppb action level. Dangerous levels of lead were found in
    the Middle School Boys' Locker Room Bubbler - 250 ppb, Family Center - 120 ppb, Health
    Room - 60 ppb, Girl's locker room bubbler - 83 ppb and bubblers - 220, 110 and 100 ppb.
    (See Exhibit B, p. 2, 1 8)



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              II. STATEMENT OF FACTS SET FORTH IN EXHIBIT B
         BY MICHAEL HOOTSTEIN, GLEN AYERS & DR. MARC EDWARDS

It is import11IJ.t to reduce lead exposures as much as possible -particularly for yollilg
children, pregn11IJ.t women, 11IJ.d inf11IJ.ts - because "there is no safe level oflead
exposure." (Emphasis added) - Massachusetts Department ofPublic Health 1
Comprehensive, state-directed testing 2 in 2016 for lead in Amherst school drinking
water revealed very serious health concerns at Fort River, Wildwood and Crocker
Farm Elementary Schools, Amherst Regional Middle and High Schools, and
Southeast Campus School · water from many taps was found to be unfit for human
consumption and poses an unnecessary health risk to children. This is especially
troubling because lead adversely affects virtually every organ system and young
children are especially susceptible to health harm.

In the least lead ·contaminated Amherst schools (the High School and Crocker Farm
Elementary) , 31 ·35% of each school's drinking water tests exceeded the 5 parts per
billion (ppb) U.S. Food & Drug Administration (FDA) lead limit for bottled water3
and 9·13% exceeded the Environmental Protection Agency (EPA) 15 ppb lead action
level for Public Water Supplies. This outdated 15 ppb action standard 4 is 15 times
higher than the 1 ppb maximum safe lead recommendation for children put forth by
the American Academy of Pediatrics 5 • The highest level of lead (460 ppb) was found
in the High School Health Room.

In Southeast Campus - 6 of 6 tests exceeded the 5 ppb FDA lead limit, and 4 of 6 exceeded the
outdated EPA 15 ppb action level. We commend the Superintendent for purchasing bottled
water (less than 5 ppb lead) for Southeast Campus students during the 2017-2018 school year.

In Amherst Regional Middle School - 29 of 40 tests exceeded the 5 ppb FDA lead limit, and 21
of 40 exceeded the outdated 15 ppb action level. Dangerous levels of lead were found in the
Middle School Boys' Locker Room Bubbler - 250 ppb, Family Center - 120 ppb, Health Room -
60 ppb, Girl's locker room bubbler - 83 ppb and bubblers - 220, 110 and 100 ppb.

1
  MA DPH "lead-drinking-water-faq.pdf" available at
https://www.mass.gov/doc/lead-in-drinking-water-faqa-english-0/download
2
  MA Executive Office of Energy & Environmental Affairs, Data Portal, "Search for Lead and
Copper Drinking Water Results in Schools/Childcare" available at
https ://eeaonline.eea.state.ma.us/portal#!/search/leadandcopper
3
  US FDA "Bottled Water Everywhere: Keeping it Safe" available at
https://www.fda.gov/ForConsumers/ConsumerUpdates/ucm203620.htm
4
  US Environmental Protection Agency "15 ppb Action Level" not a health-based standard, see
page 36 of US Government Accountability Office report "Lead Testing of School Drinking
Water Would Benefit From Improved Federal Guidance" available at
https ://www.gao.gov/products/G A 0-18-3 82
5
  American Academy of Pediatrics, AAP Council on Environmental Health, "Prevention of
Childhood Lead Toxicity" available at
https://pediatrics.aappublications.org/content/138/1/e20161493 .full-text. pdf

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In Wildwood Elementary School - 66 of 75 tests exceeded the 5 ppb FDA lead limit, and 40 of
75 exceeded the 15 ppb action level. Dangerous levels of lead were found in the ELL Room - 67,
Food Prep - 22, 23 and 18 ppb and bubblers - 53, 50, 44 ppb.

After obtaining these results the Superintendent correctly noted the "Fort River, Wildwood and
the Middle School were built within four years of one another (from 1969 - 1973) so it is likely
that the same intervention work will be required at all three since their systems are similar. We
wanted to identify the best repair method ... so our maintenance staff began work first at Fort
River."

The progress at Fort River revealed the difficulties and expense of piecemeal remediation. In the
initial round of sampling 77 of 78 of the 2016 tests exceeded the 5 ppb FDA lead limit for
bottled water and 63 of 78 exceeded the 15 ppb action level. Dangerous levels of lead were
found in Room CR-1 - 210 ppb and bubblers - 66, 60, 57 ppb!

After the Fort River maintenance staff repaired 20 of 63 bubblers, the retest on September
30, 2016 revealed 20 of 20 tests still exceeded the 5 ppb FDA lead limit and 16 exceeded the 15
ppb action level.

After still further repairs on the 16 taps still exceeding the action level, another retest on
November 11, 2016 found 12 of 16 tests exceeded the 5 ppb FDA lead limit, and 6 of 16 still
exceeded the 15 ppb action level.

After even more targeted repairs were undertaken on 50 more taps, testing on 1/12/2017 revealed
that 23 of 50 tests exceeded the 5 ppb FDA lead limit, and 7 of 50 still exceeded the outdated 15
ppb action level. There was still 650 ppb lead in tap water of the school Health Room. In other
words, despite all the effort and expense, the data still indicates that some of the school water at
Fort River remained unfit for human consumption.

Despite these discouraging results, we should not accept defeat, because cost effective alternative
strategies still exist. For a total cost of $8,000-10,000, 4-5 lead filtered hydration stations could
be installed in each school, where students could fill water bottles and obtain lead free water with
complete confidence. This sort of simple investment would not only provide parents with peace
of mind. Reducing our children's lead exposure would also pay important possible future
dividends in the form of increased IQ scores, improved lifetime earning expectancy, and reduced
rates of incarceration and other social ills.

Amherst can extend its 2016 success in testing for and identifying its schools' water lead
problems, and its hard-earned experiences with the difficulties of remediating taps, by
implementing an affordable and effective "Get the Lead Out" solution that meets modern
American Academy of Pediatrics standards.




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                                    III. LEGAL STANDARD

       In considering whether to grant a preliminary injunction, district courts in this Circuit

look to: "(i) the movant' s likelihood of success on the merits of its claims; (ii) whether and to

what extent the movant will suffer irreparable harm if the injunction is withheld; (iii) the balance

of hardships as between the parties; and (iv) the effect, if any, that an injunction (or the

withholding of one) may have on the public interest." Corp. Techs., Inc. v. Harnett, 731 F.3d 6, 9

(1st Cir. 2013); W. Holding Co., Inc. v. AIG Ins. Co.-Puerto Rico, 748 F.3d 377, 383 (1st Cir.

2014) ("Whether a mandatory preliminary injunction should issue typically depends on the

exigencies of the situation, taking into account [the] four familiar factors .... ").

    "The purpose of a preliminary injunction is always to prevent irreparable injury so as to
    preserve the court's ability to render a meaningful decision on the merits. It often happens
    that this purpose is furthered by preservation of the status quo, but not always. If the
    currently existing status quo itself is causing one of the parties irreparable injury, it is
    necessary to alter the situation so as to prevent the injury, either by returning to the last
    uncontested status quo between the parties, Ross-Whitney Corp. v. Smith Kline & French
    Laboratories, 9 Cir. 1953, 207 F.2d 190, by the issuance of a mandatory injunction, see 7
    Moore's Federal Practice P65.04{1), or by allowing the parties to take proposed action that
    the court finds will minimize the irreparable injury. The focus always must be on prevention
    of injury by a proper order, not merely on preservation of the status quo." (Canal Auth. of
    State of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974))

                                         IV. ARGUMENT

     A. PLAINTIFF IS LIKELY TO SUCCEED ON THE MERITS OF HIS CLAIMS

       Plaintiffs Complaint is likely to succeed on the merits of his claims for declaratory and

injunctive relief under 42 U.S.C. § 1983, that Defendant Amherst Regional School Committee

has violated, and continues to violate, the Plaintiff Custodial Grandfather's and Grandson's

procedural and substantive due process liberty right to bodily integrity under the 14th

Amendment to the U.S. Constitution.

        Plaintiffs Complaint Facts (see Complaint) and newly gleaned Exhibits A - C Facts

prove Defendant School Committee's malfeasant conduct and misleading parents, teachers and

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students alike (falsely ensuring them school water is safe when it is not), dangerously exposing

over 2,500 vulnerable Amherst schoolchildren (like Plaintiffs Grandson), siblings, parents (like

the Plaintiff), teachers and members of the public who utilize Amherst Public Schools, to high

toxic concentrations of lead in school drinking water. (Compl. <Jr<Il 1, 4-5, 23-30, 32-37).

       According to a National Center for Health Housing ("NCHH") Issue Brief: Childhood

Lead Exposure and Educational Outcomes Costs, societal costs resulting from childhood lead-

poisoning and related emotional and financial costs to parents (like the Plaintiff in the instant

matter) of children with learning disabilities is exorbitant (Compl. <J[ 22)

    Childhood lead exposure, even at low levels, remains a critical public health issue ... It
    is also a costly disease, with recent estimates putting its price tag at over $50 billion in
    a single year due to lost economic productivity resulting from reduced cognitive
    potential. .. Once a child's health or cognition has been harmed by lead, the effects are
    permanent and continue into adulthood ... Recent research has found that even very low
    levels of lead exposure can have a detrimental impact on a child's IQ, likelihood of
    having a learning disability, educational attainment, and reading readiness at
    kindergarten entry. Compared to adults, children are at greater risk ... their rapidly
    growing minds and bodies are more susceptible to lead's harmful effects ... Children of
    color and children living in poverty are disproportionately at risk. (Compl. <J[ 22)

       The Supreme Court has long recognized a custodial grandparent's 14th Amendment -

Due Process Family Integrity Rights to be one of the most fundamental liberty interests that

the Constitution protects. Suboh v. Dist. Attorney's Office of Suffolk Dist., 298 F.3d 81 , 91 (1st

Cir. 2002) ("To begin, '(t]he interest of parents in the care, custody, and control of their children

is among the most venerable of the liberty interests embedded in the Constitution."') (quoting

Hatch v. Dep't of Children. Youth & Their Families, 274 F.3d 12, 20 (1st Cir. 2001)); Lee v. City

of Los Angeles, 250 F.3d 668, 685 (9th Cir. 2001) ("It is well established that a parent has a

fundamental liberty interest in the companionship and society of his or her child .... ") (quotation

marks omitted); J.B. v. Washington County, 127 F.3d 919,925 (10th Cir. 1997) ("[T]he most




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essential and basic aspect of familial privacy [is] the right of the family ... [versus] . .. the

coercive interference of the awesome power of the [schools]").

        It follows that the Plaintiff has a Constitutionally Protected Right (and a Sacred Duty)

that compels him to do whatever he can, legally and non-violently, to prevent foreseeable,

imminent and irreparable lead-poisoning harm directed at his Grandson (and other children) by

malfeasant school officials who deceptively certify lead-poisoned Amherst school water as safe.

While the plaintiff does not seek criminal prosecution of malfeasant school officials, their

conduct is nonetheless criminal under Massachusetts General Laws, Chapter 265, § 28,

whenever any school official "mingles poison with food, drink or medicine with intent

to .. .willfully poison any .. . well or reservoir of water [used by schoolchildren] with such intent".

In that Amherst first provided parents school lead-testing data in September, 2016, and Mr.

Hootstein first documented his concerns in a letter to the School Committee on October 19,

2016, School Committee lead-poisoning conduct occurring now, in January, 2019, Defendant's

malfeasant conduct appears to be shockingly deliberate and indifferent.

        Amherst's Motion to dismiss mistakenly argues the Safe Drinking Water Act precludes

the Plaintiffs filing of his Constitutional claims. This is a frivolous unsubstantiated claim,

apparently designed to delay these proceedings and bully a concerned parent of a child with a

learning disability into silence. Amherst admits school drinking water is unfit for human

consumption when the Superintendent made a decision to purchase bottled water (not exceeding

the FDA 5 ppb lead limit) for himself and his staff but not for the vulnerable schoolchildren in

his care. (See Exhibit B, "Central Office Water") Defendant School Committee cannot point

to any language or statute in the Safe Drinking Water Act, or supporting MA DEP or U.S. EPA




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regulatory involvement that supports school defendant's motion that the Safe Drinking Water Act

precludes plaintiffs well-pled Section 1983 claims.

       The Supreme Court's 2009 decision in Fitzgerald v. Barnstable School Committee, 555

U.S. 246, 252 (2009) explained the distinction between§ 1983 claims premised on constitutional

violations (alleged in the instant matter) and those based on statutory violations (like those

enumerated by the SDWA) in determining whether a§ 1983 claim is precluded. "In those cases

in which the § 1983 claim is based on a statutory right, evidence of such congressional intent

may be found directly in the statute creating the right, or inferred from the statute's creation of a

comprehensive enforcement scheme that is incompatible with individual enforcement under§

1983." Fitzgerald, at 252.

       Defendant School Committee cannot point to any statute creating any right allowing

plaintiff to file suit under SDWA, alleging: Defendant Amherst-Pelham Regional School

Committee, acting under color of law, unilaterally violated and continues to violate, abrogate and

impair, unreasonably and without justification, Plaintiffs, his Grandson's and other's due process

liberty rights by arbitrarily, irrationally and knowingly providing toxic, lead-contaminated school

drinking water unfit for human use and consumption to schoolchildren and adults (like the

plaintiff) with knowledge that such lead-poisoning is likely to cause foreseeable and irreparable

physical, emotional and financial harm to all. (Compl.    <J[   32)

       And, Defendant School Committee cannot point to any statute creating any right

allowing plaintiff to file suit under SDWA, alleging: Defendant School Committee maintains

an arbitrary and irrational policy or custom of deliberate indifference in the protection of

children, parents (like the plaintiff), teachers and school staff from serious and dire imminent




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injury caused by lead toxicity. Defendant's unreasonable conduct has created, and continues to

create danger and violate children's and adult's rights to bodily integrity.

       And, Defendant School Committee cannot point to any statute creating any right

allowing plaintiff to file suit under SDWA, alleging: As a result of defendant School

Committee's policy or custom, school and town officials who orchestrated the Amherst School

lead-poisoning cover-up knew that such misconduct toward children, or parents, was likely to go

undetected and/or unpunished because there exists no administrative system of checks and

balances within the public school system, and no federal or state law regulating lead in school

drinking water. (Compl. <JI 34)

       And, Defendant School Committee cannot point to any statute creating any right

allowing plaintiff to file suit under SDWA, alleging: In abrogation of defendant School

Committee's duty to act in the best interest of children, defendant Amherst School Committee

exposed, and continues to expose all their students and their parents (the plaintiff in the current

matter) to toxic lead-contaminated school drinking water unfit for human use and consumption.

(Compl. <JI 36)

        And, Defendant Committee cannot point to any statute creating any right allowing

plaintiff to file suit under SDWA, alleging: As a result, plaintiff is deprived of his due process

liberty rights in the care and protection (in the best interest) of his child; and he is injured and

damaged in his property, personal health, physically, emotionally and economically by the

inherently dangerous activity of the aforesaid defendant AR School Committee. (Compl. <JI 37)

        Based on U.S. Supreme Court case authority set out above, the Plaintiff avers that he

does not "invoke § 1983 . .. as a vehicle to enforce the substantive federal law found in [the

SDWA], but as a vehicle to recover for alleged violations" of the Due Process Clause -



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allegations that he states would be actionable even if Congress had never enacted the SDW A.

Communities for Equity, 459 F.3d at 684 Plaintiff argues that the fact that Congress "created a

set of substantive statutory requirements, and adopted a set of procedures for enforcing those

requirements, does not ... suggest that Congress intend[ed] to foreclose a Section 1983 remedy

for the violations of independent rights that find their source, not in laws passed by Congress, but

in the Constitution itself."

        The focus of the instant Court's inquiry on this question should be congressional intent.

See Communities for Equity, 459 F.3d at 684 ("The question of what Congress intended . . .

concerns not only which remedies Congress sought to provide for [statutory] violations, but

whether Congress intended to abandon the rights and remedies set forth in [constitutional

jurisprudence] when it enacted [the SDWA]."). "The burden . . . lies with the defendant in a§

1983 action to prove preclusion." Charvat, 246 F.3d at 615

        Congress obviously didn't intend to abandon rights and remedies set forth in

constitutional jurisprudence (by Plaintiffs 42 U.S.C. § 1983 Due Process claims) when it enacted

SDWA because SOWA doesn't regulate lead in school drinking water. SOWA statutes were

intended to regulate public water supplies only, not school water supplies.

        Therefore, Defendant School Committee has failed to prove preclusion in this case and

the School Committee's Motion to Dismiss has no basis in law.

        Mr. Hootstein does not allege that lead levels in the Amherst schools exceeded current

"legal levels" in violation of the SDW A because there aren't any "legal levels" under SDWA

for lead in school drinking water. Such duplicitous and deceptive child-endangering School

Committee conduct, hiding behind non-existent imaginary state and federal SDW A statutes, goes




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so far as to defy "settled law" established by the Supreme Court's precedent-setting decision in

Fitzgerald v. Barnstable School Committee, 555 U.S . 246, 252 (2009).

   B. PLAINTIFF WILL SUFFER IRREPARABLE HARM IF THE INJUNCTION IS
                              WITHHELD

       There are few harms more severe than one suffered by a parent like the Plaintiff who is

unable to protect his/her child from school-created harm. Harm is irreparable only if no adequate

legal remedy exists. Foxboro Co. v. Arabian Am. Oil Co., 805 F.2d 34, 36 (1st Cir. 1986) ("We

do not find irreparable injury where only money is at stake .... "); see also Ross-Simons of

Warwick, Inc. v. Baccarat, Inc. , 102 F.3d 12, 19 (1st Cir. 1996) (an injury is "irreparable" if it is

"not accurately measurable or adequately compensable by money damages).

       Here, no money is at stake. In a good faith attempt at narrowing the issues of this

controversy, the Plaintiff, Glen Ayers and Dr. Marc Edwards analyzed the lead data and

designed a cost effective remediation of lead in Amherst school drinking water - all at no cost to

Amherst Schools:

    For a total cost of $8,000-10,000, 4-5 lead filtered hydration stations could be installed
    in each school, where students could fill water bottles and obtain lead free water with
    complete confidence. This sort of simple investment would not only provide parents with
    peace of mind. Reducing our children's lead exposure would also pay important possible
    future dividends in the form of increased IQ scores, improved lifetime earning expectancy,
    and reduced rates of incarceration and other social ills. (See Exhibit B, p. 2 'I[ 5)

        The plaintiff informed the defendant he would withdraw his complaint if Amherst would

agree to install 4-5 lead filtered hydration stations in each of 5 open schools for a total cost

of approximately $10,000 X 5 = $50,000. In response, the school attorney, who stands to profit

the longer the schools litigate this matter, was gleeful and spiteful when he called the Plaintiff to

inform him his good faith offer was rejected in full. The School Attorney conceals the fact that

safe FDA approved bottled water was secretly provided to the "Summit Academy" SE Campus

School throughout the 2017-2018 school year (before it was closed due the lead-poisoned water)

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just like FDA approved bottled water was secretly provided to the "Central Office". (See

Exhibit A, "Summit Academy [SE Campus School] Water")

       Mr. Hootstein will continue to suffer irreparable harm if the injunction is withheld.

Imagine, if you can, this grandfather's fear, emotional distress and sleep-deprived physical injury

caused by defendant's conscience-shocking lead-poisoning conduct. A Massachusetts

Department of Public Health determination (June, 2016 Data Brief) augments his fears,

"There is no safe level of exposure to lead and even exposure to relatively low levels can

cause severe and irreversible health effects [and] ... numerous studies have documented

correlations between childhood lead poisoning and future school performance,

unemployment, crime, violence and incarceration. " (Compl. <J[ 21). May God have mercy

on our souls!

       Plaintiff contends there is a compelling state interest in the protection of Amherst

schoolchildren and the prevention of their systemic, wide-spread lead-poisoning in school

(Compl. <J[ 13). And, it is this compelling state interest which should compel this Honorable

Court to provide the requested relief so as not to render the Plaintiff Custodial Grandfather

powerless to protect his beloved Grandson.

       Please consider the irreparable harm suffered by the Plaintiff as memorialized in his May

20, 2018 "settlement offer" letter (Exhibit C) to Defendant Amherst School Committee:

    I adopted Marc's guiding purpose as my own, that being to limit children's future lead
    in water exposure to the greatest extent possible.

    I've been reaching out in good faith to this Committee for over 1 1/2 years now, and
    respectfully, I find your deafening silent response extremely troubling!.. Except for one
    "Water Update" slideshow presentation last year ... this Committee has shut down any and
    all public discourse, debate, deliberation or vote on any school policy addressing dangerous
    high levels of lead in Amherst school drinking water.




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    False and misleading legal advice is disseminated to the Committee, and false legal
    threats are made against individual Committee members - all for the corrupt purpose
    of usurping and obstructing the legal authority of the Committee, and preventing you
    from ever deliberating and voting on matters that call for the child-protective
    remediation of lead in school drinking water, or allege any Amherst School
    malfeasance, discrimination and/or civil rights violation.

    I respectfully ask the School Committee to fairly and impartially deliberate on, and vote to
    accept or deny, my following "settlement proposal" that calls for remediation of dangerous
    levels of lead in Amherst school drinking water, so we can amicably resolve my civil rights
    complaint (attached) in the most just, fair, child-protective and cost-effective manner
    possible.

    My settlement proposal has been inspired by, and has the full support of, Marc Edwards,
    PhD., the foremost national expert on the matter before us. Marc did a cursory analysis of
    our Amherst lead-testing data, and agreed with me that testing shows lead levels in Amherst
    school drinking water was so "alarmingly" high that it constituted an imminent threat to our
    children's school safety.

    Marc helped me design the best plan to limit lead in Amherst school drinking water to less
    than 1 part per billion(" 1 ppb ") of lead as recommended by the American Academy of
    Pediatrics and EPA to safeguard children from lead-poisoning. This plan calls for 4-5
    individually plumbed MA DEP-approved lead-filtered hydration stations (with real-time
    warning systems to inform when filters need changing) to be installed in each lead-
    contaminated school, at an estimated cost of $2,000 per unit and approximately $8,000 -
    $10,000 per school.

    Please, our children are the true wealth of our nation - we can no longer turn a blind
    eye while we continue to poison them, and not suffer the cataclysmic consequences of
    our own consciousness-shocking deliberate indifference!

   C. THE BALANCE OF HARMS WEIGH HEAVILY IN FAVOR OF EMERGENCY
                            RELIEF HERE

       The school lead-poisoning harm to the plaintiff, partially by and through his grandson,

grandson's classmates, 2,500 other Amherst schoolchildren, their parents and teachers, greatly

outweighs any threatened harm to the Amherst Regional School Committee.

       The so-called 'balancing of the equities' requires a court to weigh "the hardship that will

befall the nonmovant if the injunction issues ... with the hardship that will befall the movant if

the injunction does not issue." Mercado-Salinas v. Bart Enter. Intern., Ltd., 671 F.3d 12, 19 (1st

Cir. 2011) (citation omitted). Importantly, this factor should not be considered in isolation - "[i]n

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considering this [balance of hardships] factor, it must be borne in mind that, where the likelihood

of plaintiffs success is great, 'the less weight is to be given to the defendant's loss."' TEC

Engineering Corp. v. Budget Molders Supply, Inc., 927 F. Supp. 528,535 (D. Mass. 1996),

(quoting FDIC v. Elio, 39 F.3d 1239, 1248 (1st Cir. 1994)). In sum, the balance of the equities is

not a measure of relative wealth or ability to sustain loss until a trial occurs but is an observation

that juxtapose the parties' potential harms with their probabilities of success at trial.

       Here, the balance of harms tips decidedly in favor of the issuance of injunctive relief. As

shown above, Mr. Hootstein, by and through his grandson and all Amherst schoolchildren, will

continue, since September, 2016, to suffer irreparable harm if Defendant's misconduct is not

enjoined.

       By contrast, the only "harm" that will come to defendant is the cost of safe FDA certified

bottled water for Amherst's 2,500 schoolchildren, siblings, parents. teachers, staff and members

of the public that utilize Amherst public school facilities, so Amherst children will have equal

access to the same safe FDA approved bottled water purchased by Amherst for the

Superintendent and his staff since 2017.

          D. ISSUING THE INJUNCTION IS IN THE PUBLIC INTEREST;
       WITHHOLDING THE INJUNCTION IS NOT IN THE PUBLIC INTEREST

       The issuance of an emergency preliminary injunction against the Defendant Amherst-

Pelham Regional School Committee would prevent foreseeable, imminent and irreparable lead-

poisoning injury to Plaintiffs Grandson, the Plaintiff, more than 2,500 other Amherst

schoolchildren and their parents. In that there is a compelling state interest in the protection of

Amherst schoolchildren and the prevention of their systemic, wide-spread lead-poisoning in

school (Compl.   <JI   13), issuing this injunction is overwhelmingly in the Public Interest.




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       Irrefutable scientific evidence proves Amherst school water is unfit for human

consumption. In that Amherst school water poses an unacceptable foreseeable , imminent and

irreparable lead-poisoning risk to Amherst schoolchildren, the issuance of the requested

emergency preliminary injunction is in THE PUBLIC INTEREST.

       The Plaintiff respectfully asks the Court to ORDER Defendant Amherst Regional School

Committee to provide all Amherst students and their parents equal access to the same safe FDA

certified bottled water the Committee provides the Superintendent and his Central Office staff,

and previously provided equally for all at the "Summit Academy" Southeast Campus School

before it was closed down due to lead-contaminated school drinking water!

                                          IV. CONCLUSION

       For the foregoing reasons, Mr. Hootstein requests entry of the requested emergency

preliminary injunction.



                           Respectfully submitted on January 4, 2019,




                                     Shutesbury, MA 01072




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                              CERTIFICATE OF SERVICE

       I hereby certify that the Pro Se Plaintiff in this case is not a registered CM/ECF user.
Therefore, I have mailed the foregoing document by First-Class Mail, postage prepaid, on
January 4, 2019, to Defendant Amherst-Pelham Regional School Committee, by and
through their Attorney, David McCay, Mirick, O'Connell, DeMallie & Lougee, LLP, 1800
West Park Drive, Suite 400, Westborough, MA 01581-3926.




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